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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 SHARON BRIDGEWATER,

        Plaintiff,
                                                    Case No. 1:18-cv-953
 v.
                                                    HONORABLE PAUL L. MALONEY
 DONALD J. TRUMP, et al.,

        Defendants.
 ____________________________/


               ORDER ADOPTING REPORT AND RECOMMENDATION

       This matter is before the Court on the Report and Recommendation of the Magistrate

Judge, that this Court dismiss the case with prejudice for lack of prosecution. The Report and

Recommendation issued on October 30, 2018, and was duly served on the Plaintiff. No objections

have been filed. See 28 U.S.C. § 636(b)(1). Therefore,

       IT IS HEREBY ORDERED that the Report and Recommendation (ECF No. 11) is

APPROVED and ADOPTED as the Opinion of the Court.

       IT IS FURTHER ORDERED that this action is DISMISSED WITH PREJUDICE.

       A Judgment will be entered consistent with this Order.



Dated: November 26, 2018                                   /s/ Paul L. Maloney
                                                          Paul L. Maloney
                                                          United States District Judge
